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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TRUSTEES OF THE NATIONAL AUTOMATIC
SPRINKLER INDUSTRY WELFARE FUND,
TRUSTEES OF THE NATIONAL AUTOMATIC
SPRINKLER LOCAL 669 UA EDUCATION FUND,
TRUSTEES OF THE NATIONAL AUTOMATIC
SPRINKLER INDUSTRY PENSION FUND, TRUSTEES
OF THE SPRINKLER INDUSTRY SUPPLEMENTAL
PENSION FUND, TRUSTEES OF THE NATIONAL
AUTOMATIC SPRINKLER INDUSTRY METAL
TRADES WELFARE FUND, TRUSTEES OF THE
NATIONAL AUTOMATIC SPRINKLER INDUSTRY
METAL TRADES PENSION FUND AND TRUSTEES OF
THE INTERNATIONAL TRAINING FUND

8000 Corporate Drive

Landover, MD 20785

Plaintiffs,

vs. Civil Action No.:
WILSON FIRE SPRINKLER COMPANY, INC.
10161 S. Highland Avenue

Selma, CA 93662

Serve: John M. Wilson, Registered Agent
10161 S. Highland Avenue
Selma, CA 93662

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Defendant.

COMPLAINT

(FOR BREACH OF COLLECTIVE BARGAINING AGREEMENT AND
TO COLLECT CONTRIBUTIONS DUE TO PLAINTIFF FUNDS)

Jurisdiction
1. This Court has jurisdiction of this action under Sections 502 and 515 of the
Employee Retirement Income Security Act, (hereafter "ERISA"), 29 U.S.C. §§ 1132 and 1145, and

under Section 301 of the Labor-Management Relations Act, 29 U.S.C. § 185(a). This is an action
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for breach of a Collective Bargaining Agreement between an employer and a labor organization
representing employees in an industry affecting commerce and an action to collect contributions
due to employee benefit plans under the terms of the Collective Bargaining Agreement.

2. Plaintiffs Trustees of the National Automatic Sprinkler Industry Welfare Fund,
Trustees of the National Automatic Sprinkler Local 669 UA Education Fund, Trustees of the
National Automatic Sprinkler Industry Pension Fund, Trustees of the Sprinkler Industry
Supplemental Pension Fund, Trustees of the National Automatic Sprinkler Industry Metal
Trades Welfare Fund, Trustees of the National Automatic Sprinkler Industry Metal Trades
Pension Fund and Trustees of the International Training Fund (hereinafter "NASI Funds") are
multiemployer employee benefit plans as that term is defined in Section 3(3) of the ERISA of 1974,
29 U.S.C, § 1002(3). Plaintiff Funds are established and maintained according to the provisions of
the Restated Agreements and Declarations of Trust establishing the NASI Funds (hereinafter “Trust
Agreements”) and the Collective Bargaining Agreement between Road Sprinkler Fitters Local
Union No. 669 (hereinafter referred to as “the union”) and the Defendant. The NASI Funds are
administered at 8000 Corporate Drive, Landover, Maryland 20785.

3. Defendant Wilson Fire Sprinkler Company, Inc. is a corporation existing under the
laws of the State of California with offices located in California. Defendant transacts business in
the State of California as a contractor or subcontractor in the sprinkler industry and all times herein
was an "employer in an industry affecting commerce" as defined in Sections 501(1), (3), 2(2) of the
Labor-Management Relations Act, 29 U.S.C. Sections 142(1), (3) and 152(2); Section 3(5), (9),
(11), (12), (14) of ERISA, 29 U.S.C. Sections 1002(5), (9), (11), (12), (14); and Section 3 of the

Multi-Employer Pension Plan Amendments of 1980, 29 U.S.C. § 1001(a).
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COUNTI

4. Defendant entered into a Collective Bargaining Agreement with the union
establishing terms and conditions of employment for journeymen and apprentice sprinkler fitters
employed by the Defendant.

5. Pursuant to the Collective Bargaining Agreement, Defendant agreed to pay to the
Plaintiff Funds certain sums of money for each hour worked by employees of Defendant covered by
the Collective Bargaining Agreement.

6. Defendant employed certain employees covered by the Collective Bargaining
Agreement during the months of March 2019 through the present.

te Defendant is bound to the Trust Agreements and the Guidelines for Participation in
the NASI Funds (hereinafter “Guidelines”.

8. Defendant has failed to make contributions due to Plaintiff Funds for the months of
September and October 2019. In addition, Defendant has failed to submit report forms for these
months. Pursuant to the terms of the Collective Bargaining Agreement, Defendant is obligated to
submit report forms and pay contributions owed to Plaintiff Funds.

o, Pursuant to Article VI, Section 6 of the Restated Agreements and Declarations of
Trust establishing the NASI Funds, when an employer is two or more months delinquent in making
the contributions required on behalf of his employees and has not submitted the required documents
showing the employees who worked for him and hours worked, the Funds are authorized to project

the delinquency amount using the following formula:

... The Trustees may project as the amount of the delinquency the greater
of (a) the average of the monthly payments or reports submitted by the
Employer for the last three (3) months for which payments or reports were
submitted, or (b) the average of the monthly payments or reports submitted
by the Employer for the last twelve (12) months for which payments or
reports were submitted .. .

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10. Using report forms submitted for the last three (3) months for which reports were
submitted, the projected delinquency for the months of September and October 2019 is

$115,669.17 calculated as follows:

MT MT
Month Welfare Education Pension SIS Welfare Pension ITF

 

 

June 2019 $26,432.50 $1,048.63 $16,668.37 $11,943.45 $1,128.38 $172.58 $279.76
July 2019 $25,178.28 $887.11 $14,628.90 $8,853.02 $796.88 $121.88 $239.25
Aug. 2019 $30,580.61 $1,124.24 $18,169.80 $11,800.85 $1,869.79 $285.97 $293.50

Average

Monthly
Contrib’s: $27,397.13 $1,019.99 $16,489.02 $11,199.11 $1,265.02 $193.48 $270.84

11. | Defendant’s contributions owed on behalf of its sprinkler fitter employees for the
months of March 2019, July 2019 and August 2019 were paid late. The specific amounts paid
and the date in which the Defendant's contributions were received by the NASI Funds are set
forth on the attached breakdown (Exhibit A).

12. Defendant's contributions owed on behalf of its sprinkler fitter employees for the
months of September and October 2019 are late.

13. The Trust Agreements and the Guidelines provide that an employer who fails to pay
the amounts required by the Collective Bargaining Agreement on time shall be obligated to pay

liquidated damages as follows:

(1) If payment is not received in the Funds Office by the 15th of the
month, 10% of the amount is assessed.

(2) An additional 5% is added if payment is not received in the
Funds Office by the last working day of the month in which
payment was due.

(3) An additional 5% is added if payment is not received by the
15th of the month following the month in which payment was
due.
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14, Pursuant to this provision, Defendant is obligated to Plaintiff Funds in the amount
of $59,568.12 in liquidated damages assessed on the late contributions for the months of March
2019, July 2019 and August 2019 through October 2019, plus interest at the rate provided in 29
U.S.C. Section 1132(g) from the date of delinquency to the date of payment.

WHEREFORE, in Count I, Plaintiff Funds pray judgment as follows:

A. In the amount of $115,669.17 for contributions due for work performed in
September and October 2019, plus costs, interest, and reasonable attorneys' fees, pursuant to 29
U.S.C. § 1132(g).

B. In the amount of $59,568.12 for liquidated damages assessed on the late
contributions for the months of March 2019, July 2019 and August 2019 through October 2019,
plus costs, interest, and reasonable attorneys' fees, pursuant to 29 U.S.C. § 1132(g).

C. For all contributions and liquidated damages which become due subsequent to the
filing of this action through the date of judgment, plus costs, interest, and reasonable attorneys' fees,
pursuant to 29 U.S.C. § 1132(g).

D. For such further relief as the Court may deem appropriate.

Respectfully submitted,

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By: /s/
Charles W. Gilligan
Maryland Bar No. 05682
Attorneys for Plaintiffs

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CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing Complaint has been served by certified mail,
as required by 502(h) of the Employee Retirement Income Security Act of 1974, 29 U.S.C.
§ 1132(h) this 9th day of December, 2019 on the following:

The Office of Division Counsel

Associate Chief Counsel (TE/GE) CC: TEGE
Room 4300

1111 Constitution Avenue

Washington, DC 20224

Attention: Employee Plans

Secretary of Labor

200 Constitution Avenue, N.W.

Washington, DC 20210

ATTENTION: Assistant Solicitor for
Plan Benefits Security

/s/
Charles W. Gilligan

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